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                           IN THE UNITED STATES DISTRICT COURT                                 DEC 13 2019
                               EASTERN DISTRICT OF ARKANSAS
                                      DELTA DIVISION


    SHARON WHITAKER and TRAVIS CESSOR,
    Each Individually and on Behalf of
    All Others Similarly Situated


    vs.                                     No. 2:19-cv-    I 55- JM

    YOUTH OPPORTUNITY INVESTMENTS, LLC                                                      DEFENDANT


                        ORIGINAL COMPLAINT-COLLECTIVE ACTION


           COME NOW Plaintiffs Sharon Whitaker and Travis Cessor, each individually and

    on behalf of all others similarly situated, by and through their attorneys Lydia H. Hamlet

    and Josh Sanford of Sanford Law Firm, PLLC, and for their Original Complaint-

    Collective Action ("Complaint") against Defendant Youth Opportunity Investments, LLC

    ("Defendant"), they state and allege as follows:

                                I.        PRELIMINARY STATEMENTS

           1.       This is a collective action brought by Sharon Whitaker and Travis Cessor

    (collectively "Plaintiffs"), each individually and on behalf of all others similarly situated,

    against Defendant for violations of the minimum wage and overtime provisions of the

    Fair Labor Standards Act, 29 U.S.C. § 201 et seq. (the "FLSA"), and the minimum wage

    and overtime provisions of the Arkansas Minimum Wage Act, Ark. Code Ann. § 11-4-201

    et seq. (the "AMWA").

           2.       Plaintiffs seek a declaratory judgment, monetary damages, liquidated

    damages, prejudgment interest, and a reasonable attorney's fee and costs as a result of
                                                                       This case assigned to District Ju~ge       MouJy
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                                                                       and to Magistrate Judge .....                     . . ____
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Defendant's failure to pay proper minimum wage and overtime compensation under the

FLSA and the AMWA.

                            II.        JURISDICTION AND VENUE

       3.       The United States District Court for the Eastern District of Arkansas has

subject matter jurisdiction over this suit under the provisions of 28 U.S.C. § 1331

because this suit raises federal questions under the FLSA.

       4.       This Complaint also alleges AMWA violations, which arise out of the same

set of operative facts as the federal cause of action; accordingly, this Court has

supplemental jurisdiction over Plaintiffs' AMWA claims pursuant to 28 U.S.C. § 1367(a).

       5.       The acts complained of herein were committed and had their principal

effect against Plaintiffs within the Delta Division of the Eastern District of Arkansas;

therefore, venue is proper within this District pursuant to 28 U.S.C. § 1391.

                                     Ill.       THE PARTIES

       6.       Plaintiffs repeat and re-allege all the preceding paragraphs of this

Complaint as if fully set forth in this section.

       7.       Plaintiff Whitaker ("Whitaker'') is an individual and resident of Desha

County.

       8.       Plaintiff Cessor ("Cessor'') is an individual and resident of Desha County.

       9.       At all times material herein, Plaintiffs and those similarly situated have

been entitled to the rights, protections, and benefits provided under the FLSA.

       10.      Defendant is a foreign limited liability company with its principal place of

business in Carmel, Indiana.




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       11.     Defendant's registered agent for service in Arkansas is Sylvester L. Smith

at 300 S. Spring Street, Suite 300, Little Rock, Arkansas 72201.

       12.     Defendant owns and operates a youth treatment center in Dermott.

       13.    Within the three years preceding the filing of this Complaint, Defendant

has continuously employed at least four employees.

       14.     Defendant has at least two employees engaged in commerce or in the

production of goods for commerce, or handling, selling, or otherwise working on goods

or materials that have been moved in or produced for commerce.

       15.     Defendant's annual gross volume of sales made or business done is not

less than $500,000.00 (exclusive of excise taxes at the retail level that are separately

stated) in each of the three years preceding the filing of the Original Complaint.

                                IV.           FACTUAL ALLEGATIONS

       16.     Plaintiffs repeat and re-allege all the preceding paragraphs of this

Complaint as if fully set forth in this section.

       17.     Defendant owns and operates a youth care facility in Dermott called

Demott Youth Academy.

       18.     Dermott Youth Academy was formerly owned and operated by the state of

Arkansas or a state-run entity.

       19.     Defendant acquired Dermott Youth Academy in July of 2019.

       20.     Upon information and belief, Defendant assumed the predecessor's

liabilities upon acquisition.

       21.     Defendant had a timeclock system by which Plaintiffs and similarly

situated employees recorded their time.

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       22.    Whitaker was employed by Defendant as an hourly-paid Youth Care

Worker from 2017 until November of 2019.

       23.    Whitaker worked from approximately 11 o'clock PM until 7 o'clock AM, and

her duties included making rounds to check on youth participants and monitoring the

morning activities such as breakfast.

       24.    Upon information and belief, all Youth Care Workers were scheduled for

eight-hour shifts.

       25.    Youth Care Workers regularly worked more than forty hours in a week.

       26.    Cessor was employed by Defendants as an hourly-paid Residential Care

Technician from September of 2017 until August of 2019.

       27.    Residential Care Technicians were scheduled for twelve-hour shifts, from

approximately 7 o'clock PM until 7 o'clock AM, four or five days a week.

       28.    Residential Care Technicians were responsible for monitoring the youth

participants in their dorms.

       29.    Defendant required Residential Care Technicians to clock out at 7 o'clock

AM, but required them to remain at work cleaning dorm rooms until the next shift

arrived, which was usually two to three hours later.

       30.    Plaintiffs and similarly situated employees regularly worked more than

forty hours in a week.

       31.    Instead of paying an overtime rate, Defendant put Plaintiffs' and similarly

situated employees' overtime hours into a "leave bank" at a one-to-one ratio.




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         32.      Plaintiffs and similarly situated employees did not receive an overtime rate

of one and one-half times their regular rate of pay for all hours worked over forty in a

week.

                     V.           REPRESENTATIVE ACTION ALLEGATIONS

         33.      Plaintiffs repeat and re-allege all previous paragraphs of this Complaint as

though fully incorporated in this section.

         34.      Plaintiffs bring this claim for relief for violation of the FLSA as a collective

action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b), on behalf of all

persons similarly situated as hourly employees who were, are, or will be employed by

Defendant within the applicable statute of limitations period, who are entitled to payment

of the following types of damages:

         A.       Overtime premiums for all hours worked over forty (40) in any week;

         B.       Liquidated damages; and

         C.       Attorney's fees and costs.

         35.      Plaintiff proposes the following class under the FLSA:

                   All hourly paid employees who worked more than forty
                        hours in any week within the last three years.

         36.      In conformity with the requirements of FLSA Section 16(b), Plaintiffs have

filed or will soon file written Consents to Join this lawsuit.

         37.      The relevant time period dates back three years from the date on which

Plaintiffs' Original Complaint-Collective Action was filed herein and continues forward

through the date of judgment pursuant to 29 U.S.C. § 255(a), except as set forth herein

below.


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       38.      The members of the proposed FLSA class are similarly situated in that

they share these traits:

       A.       They were subject to Defendant's common practice of converting overtime

hours to a "leave bank" on a one-to-one ratio;

       B.       They were subject to Defendant's common policy of failing to pay an

overtime rate for all hours worked over forty in a week; and

       C.       Their time was tracked and recorded in the same manner.

       39.      Plaintiffs are unable to state the exact number of the class but believe that

the class is exceeds twenty persons.

       40.      Defendant can readily identify the members of the class, who are a certain

portion of the current and former employees of Defendant.

       41.      The names and physical and mailing addresses of the probable FLSA

collective action plaintiffs are available from Defendant.

       42.      The email addresses of many of the probable FLSA collective action

plaintiffs are available from Defendant.

                            VI.          FIRST CLAIM FOR RELIEF
                           (Individual Claims for FLSA Violations)

       43.      Plaintiffs repeat and re-allege all previous paragraphs of this Complaint as

though fully set forth herein.

       44.      Plaintiffs assert this claim for damages and declaratory relief pursuant to

the FLSA, 29 U.S.C. § 201, et seq.

       45.      At all relevant times, Defendant has been, and continues to be, an

enterprise engaged in commerce within the meaning of the FLSA, 29 U.S.C. § 203.


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        46.    29 U.S.C. §§ 206 and 207 require any enterprise engaged in commerce to

pay all employees a minimum wage for all hours worked up to forty (40) in one week

and to pay one and one-half (1.5) times their regular wages for all hours worked over

forty (40) in a week, unless an employee meets certain exemption requirements of 29

U.S.C. § 213 and all accompanying Department of Labor regulations.

        4 7.   Defendant classified Plaintiffs as non-exempt from the requirements of the

FLSA.

        48.    Defendant failed to pay Plaintiffs one and one-half times their regular rate

of pay for hours worked in excess of forty per week.

        49.    Defendant failed to pay Plaintiff Cessor for all hours worked, including an

overtime premium for all hours worked over forty in a week.

        50.    Defendant knew or should have known that its actions violated the FLSA.

        51.    Defendant's conduct and practices, as described above, were willful.

        52.    By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiffs for monetary damages, liquidated damages and costs, including reasonable

attorney's fees provided by the FLSA for all violations which occurred beginning at least

three (3) years preceding the filing of Plaintiffs' initial complaint, plus periods of

equitable tolling.

        53.    Defendant has not acted in good faith nor with reasonable grounds to

believe its actions and omissions were not a violation of the FLSA, and, as a result

thereof, Plaintiffs are entitled to recover an award of liquidated damages in an amount

equal to the amount of unpaid minimum wage and unpaid overtime premium pay

described above pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b).

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       54.    Alternatively, should the Court find that Defendant acted in good faith in

failing to pay Plaintiffs as provided by the FLSA, Plaintiffs are entitled to an award of

prejudgment interest at the applicable legal rate.

                         VII.        SECOND CLAIM FOR RELIEF
                    (Collective Action Claims for FLSA Violations)

       55.    Plaintiffs repeat and re-allege all previous paragraphs of this Complaint as

though fully set forth herein.

       56.    Plaintiffs assert this claim for damages and declaratory relief on behalf of

all similarly situated employees pursuant to the FLSA, 29 U.S.C. § 201, et seq.

       57.    At all relevant times, Defendant has been, and continues to be, an

enterprise engaged in commerce within the meaning of the FLSA, 29 U.S.C. § 203.

       58.    29 U.S.C. §§ 206 and 207 require any enterprise engaged in commerce to

pay all employees a minimum wage for all hours worked up to forty (40) in one week

and to pay one and one-half (1.5) times their regular wages for all hours worked over

forty (40) in a week, unless an employee meets certain exemption requirements of 29

U.S.C. § 213 and all accompanying Department of Labor regulations.

       59.    Defendant classified Plaintiffs and other similarly situated employees as

non-exempt from the overtime provisions of the FLSA.

       60.    Defendant failed to pay Plaintiffs and similarly situated employees one and

one-half times their regular rate for all hours worked in excess of forty per week.

       61.    Defendant knew or should have known that its actions violated the FLSA.

       62.    Defendant's conduct and practices, as described above, were willful.

       63.    By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiffs and all similarly situated employees for monetary damages, liquidated
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damages and costs, including reasonable attorney's fees provided by the FLSA for all

violations which occurred beginning at least three (3) years preceding the filing of

Plaintiffs' initial complaint, plus periods of equitable tolling.

       64.     Defendant has not acted in good faith nor with reasonable grounds to

believe its actions and omissions were not a violation of the FLSA, and, as a result

thereof, Plaintiffs and similarly situated employees are entitled to recover an award of

liquidated damages in an amount equal to the amount of unpaid overtime premium pay

described above pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b).

       65.     Alternatively, should the Court find that Defendant acted in good faith in

failing to pay Plaintiffs and the class members as provided by the FLSA, Plaintiffs and

the class members are entitled to an award of prejudgment interest at the applicable

legal rate.

                          VIII.          THIRD CLAIM FOR RELIEF
                         (Individual Claims for AMWA Violations)

       66.     Plaintiffs repeat and re-allege all previous paragraphs of this Complaint as

though fully set forth herein.

       67.     Plaintiffs assert this claim for damages and declaratory relief pursuant to

the AMWA, Ark. Code Ann.§§ 11-4-201, et seq.

       68.     At all relevant times, Defendant was Plaintiffs' "employer" within the

meaning oftheAMWA,Ark. Code Ann.§ 11-4-203(4).

       69.     Sections 21 0 and 211 of the AMWA require employers to pay all

employees a minimum wage for all hours worked, and to pay one and one-half times

regular wages for all hours worked over forty hours in a week, unless an employee


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meets the exemption requirements of 29 U.S.C. § 213 and accompanying Department

of Labor regulations.

       70.    Defendant classified Plaintiffs as non-exempt from the requirements of

AMWA.

       71.    Defendant failed to pay Plaintiffs overtime wages as required under the

AMWA for all hours that Plaintiffs worked in excess of forty (40) per week.

       72.    Defendant failed to pay Plaintiff Cessor for all hours worked, including an

overtime premium for all hours worked over forty in a week.

       73.    Defendant knew or should have known that its practices violated the

AMWA.

       74.    Defendant's conduct and practices, as described above, were willful,

intentional, unreasonable, arbitrary, and in bad faith.

       75.    By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiffs for, and Plaintiffs seek, monetary damages, liquidated damages, prejudgment

interest, and costs, including reasonable attorney's fees as provided by the AMWA.

                              IX.         PRAYER FOR RELIEF

       WHEREFORE, premises considered, Plaintiffs Sharon Whitaker and Travis

Cessor, each individually and on behalf of all others similarly situated, respectfully pray

that Defendant be summoned to appear and to answer this Complaint and for

declaratory relief and damages as follows:

       A.     Declaratory judgment that Defendant's practices alleged in this Complaint

violate the FLSA, the AMWA, and their related regulations;



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       B.      Certification of a class under Section 216 of the FLSA of all individuals

similarly situated, as further defined in any motion for the same;

       C.      Judgment for damages suffered by Plaintiffs and all others similarly

situated for all unpaid compensation under the FLSA, the AMWA and their related

regulations;

       D.      Judgment for liquidated damages owed to Plaintiffs and all others similarly

situated pursuant to the FLSA, the AMWA, and their related regulations;

       E.      An order directing Defendant to pay Plaintiffs and all others similarly

situated prejudgment interest, a reasonable attorney's fee and all costs connected with

this action; and

       F.      Such other and further relief as this Court may deem just and proper.

                                                      Respectfully submitted,

                                                      SHARON WHITAKER and TRAVIS CESSOR,
                                                      Each Individually and on Behalf of All
                                                      Others Similarly Situated, PLAINTIFFS

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                                                      One Financial Center
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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
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SHARON WHITAKER and TRAVIS CESSOR,                                        PLAINTIFFS
Each Individually and on Behalf of
All Others Similarly Situated


vs.                                No. 2:19-cv-- -


YOUTH OPPORTUNITY INVESTMENTS, LLC                                       DEFENDANT


                      CONSENT TO JOIN COLLECTIVE ACTION


        I was employed as an hourly-paid worker for Youth Opportunity Investments, LLC,
within the past three (3) years. I understand this lawsuit is being brought under the Fair
Labor Standards Act for unpaid wages. I consent to becoming a party-plaintiff in this
lawsuit, to be represented by Sanford Law Firm, PLLC, and to be bound by any settlement
of this action or adjudication by the Court.




                                                SHARON WHITAKER

                                                December 13, 2019




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